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1    Dustin D. Johnson (SBN: 234008)
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3    Phone: (877) 377-8070
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4
     Counsel for AMY HER
5

6

7
                                UNITED STATES DISTRICT COURT
8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10    THE UNITED STATES OF AMERICA,                       Case No.: 2:15-CR-115 TLN

11               Plaintiff,                               STIPULATION  AND    ORDER                 TO
                                                          CONTINUE SENTENCING
12         vs.
                                                          Judge: Hon. Troy L. Nunley
13    AMY HER                                             Time: 9:30 a.m.
                                                          Date: May 31, 2018
14               Defendant.

15

16
            IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, Matthew Yelovich, Assistant United States Attorney, and Dustin D. Johnson,
18
     Counsel for AMY HER, that:
19
        1. By previous order, this matter was set for sentencing on March 22, 2018.
20
        2. By this stipulation, the parties now move to continue sentencing until May 31, 2018, at
21
            9:30 a.m.
22
        3. The parties agree and stipulate that this continuance will provide both parties additional
23
     time to prepare for sentencing by, inter alia, researching issues pertinent to making a
24
     recommendation to the Court for a proposed sentence.
25
     IT IS SO STIPULATED.
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27
            The prosecutor has authorized defense counsel to sign this stipulation on his behalf.
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1
            The probation officer has no objection to continuing the judgment and sentencing hearing
2
     to May 31, 2018 and has provided the following briefing schedule based on the new Judgment
3
     and Sentencing Date of May 31, 2018.
4
            •   Reply, or Statement of Non-Opposition: May 24, 2018
5
            •   Motion for Correction of the Presentence Report shall be filed with the Court and
6
                served on the Probation Officer and opposing counsel no later than: May 17, 2018
7
            •   The Presentence Report was filed with the Court on November 8, 2017.
8
     Dated: March 8, 2018                        Respectfully submitted,
9

10
                                                 /s/ Dustin D. Johnson
11                                               Dustin D. Johnson
                                                 Counsel for Amy Her
12

13   Dated: March 8, 2018                        McGregor Scott
                                                 United States Attorney
14

15                                               /s/ Matthew M. Yelovich (approved via email)
                                                 MATTHEW M. YELOVICH
16                                               Assistant U.S. Attorney
17
                                                ORDER
18
            IT IS SO ORDERED this 8th day of March, 2018.
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22
                                                             Troy L. Nunley
23
                                                             United States District Judge
24

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